                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                           x

    D.H., a minor, by her next friends A.H., mother, and
    E.H., father,

                                     Plaintiffs,

                             v.

    WILLIAMSON COUNTY BOARD OF                                 Case No. 22-cv-00570
    EDUCATION; JASON GOLDEN, in his official
    capacity as Director of the Williamson County
    Schools; THE TENNESSEE DEPARTMENT OF
    EDUCATION; and PENNY SCHWINN, in her
    official capacity as Commissioner of the Tennessee
    Department of Education,

                                     Defendants.
                                                         x



                PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

          Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiff D.H., a minor, by her next

friends and parents, A.H., mother, and E.H., father, 1 hereby respectfully submits this motion for a

preliminary injunction (the “Motion”) against the above-named Defendants to enjoin them from

enforcing the “Tennessee Accommodations for All Children Act,” Tenn. Code Ann. § 49-2-801,

et seq. (the “School Facilities Law” or “Law”) and permit Plaintiff to use the multi-occupancy

restrooms located within any public school building that correspond with her gender identity,

rather than the gender assigned at her birth.




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       Plaintiff is simultaneously filing a Motion to Proceed Pseudonymously to request
permission for her and her parents to use pseudonyms in this action to protect D.H.’s identity.



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        Plaintiff is a transgender girl who will be entering the third grade in a public elementary

school located within the Williamson County School District on August 5, 2022. The School

Facilities Law prevents Plaintiff from using the restrooms which correspond to her gender identity

by providing in relevant part that public schools are required to provide a “reasonable

accommodation” to any student, teacher, or employee who “[d]esires greater privacy when using

a multi-occupancy restroom or changing facility designated for [their] sex and located within a

public school building.” Tenn. Code Ann. § 49-2-803(a)(1). The School Facilities Law, however,

defines “sex” as one’s “immutable biological sex as determined by anatomy and genetics existing

at the time of birth,” including as evidenced by “a person’s sex listed on the person’s original birth

certificate.” Id. § 49-2-802(4). It further provides that a “reasonable accommodation” may include

“access to a single-occupancy restroom or changing facility or use of an employee restroom or

changing facility,” but excludes from the definition of a reasonable accommodation any “[a]ccess

to a restroom or changing facility that is designated for use by members of the opposite sex while

members of the opposite sex are present or could be present.” Id. § 49-2-802(2).

        Thus, under the School Facilities Law, Plaintiff, a girl, is not permitted to use a multi-

occupancy girl’s restroom or changing facility. Instead, she is forced to choose between either:

(1) using the restrooms and changing facilities that correspond to her assigned sex at birth, even

though that does not comport with her gender identity; (2) being the only student in her school

who must regularly use a single-occupancy restroom or changing facility; or (3) simply not use

such facilities at all.

        Plaintiff was forced to endure life under this scheme for half of the school year in second

grade. Under the School Facilities Law’s regime, she suffered ostracization and isolation from her

classmates, causing stress and anxiety. As a result, Plaintiff began limiting her food and water



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intake to avoid having to use the bathroom, often going an entire school day without using the

restroom. This had a significant impact of her mental, emotional, and physical health.

       Accordingly, the School Facilities Law violates both Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”), and the Equal Protection Clause of

the Fourteenth Amendment to the U.S. Constitution, as enforceable pursuant to 42 U.S.C. § 1983.

For these reasons, Plaintiffs is seeking a preliminary injunction as (1) she is likely to succeed on

the merits of their Title IX and Equal Protection claims; (2) she will suffer irreparable harm without

injunctive relief; (3) the balance of the equities strongly tips in her favor, and Defendants will not

be harmed or suffer any prejudice by the issuance of an injunction; and (4) the public interest

weighs in Plaintiff’s favor, particularly as she seeks to protect her Constitutional rights.

       Plaintiffs’ Motion is based on this Motion and the accompanying Memorandum of Law,

Declaration of A.H., and Plaintiff’s Complaint, which are filed concurrently herewith, and all

records and papers on file in this action, any oral argument, and any other evidence that the Court

may consider.

 Dated:      August 2, 2022
                                           Respectfully submitted,

                                           By: /s/ Tricia Herzfeld
                                           Tricia Herzfeld (BPR #26014)
                                           BRANSTETTER STRANCH & JENNINGS PLLC
                                           223 Rosa L. Parks Avenue, Suite 200
                                           Nashville, TN 37203
                                           T: (615) 254-8801
                                           F: (615) 255-5419
                                           triciah@bsjfirm.com

                                           Adam S. Lurie*
                                           Sean Mooney*
                                           Benjamin Kurland*
                                           LINKLATERS LLP
                                           1290 Avenue of the Americas
                                           New York, NY 10104

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                            T: (212) 903-9000
                            F: (212) 903-9100
                            adam.lurie@linklaters.com
                            sean.mooney@linklaters.com
                            benjamin.kurland@linklaters.com

                            Jason Starr*
                            Ami Patel*
                            HUMAN RIGHTS CAMPAIGN FOUNDATION
                            1640 Rhode Island Avenue NW
                            Washington, D.C. 20036
                            T: (202) 628-4160
                            F: (202) 628-0517
                            jason.starr@hrc.org
                            ami.patel@hrc.org

                            * Motions for admission pro hac vice forthcoming

                            Attorneys for Plaintiff D.H., a minor, by her next
                            friends A.H., mother, and E.H., father




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of August 2022, I notified the below service list of this

Motion and will be serving the same via electronic mail contemporaneously with this filing.


   Alexander S. Rieger                               Dana Ausbrooks
   Senior Assistant Attorney General                 Williamson County Commission
   Public Interest Division                          2072 Roderick Circle
   Office of the Attorney General and Reporter       Franklin, TN 37064
   P.O. Box 20207                                    Dana.ausbrooks@wsc.edu
   Nashville, TN 37202
   Alex.rieger@ag.tn.gov




                                                             /s/ Tricia Herzfeld
                                                             Tricia Herzfeld




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